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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 CANON U.S.A., INC.,

                                   Plaintiff,                        JUDGMENT
                 v.                                                  23-cv-8001 (DLI) (LGD)

SYSOREX GOVERNMENT SERVICES, INC.,

                                   Defendant.

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         An Order of the Honorable Dora L. Irizarry, United States District Judge, having been

filed on September 26, 2024, adopting the Report and Recommendation of Magistrate Lee G.

Dunst, dated May 1, 2024, granting Plaintiff's motion for default judgment against Defendant;

and directing the Clerk of the Court to enter judgment against Defendant and award Plaintiff as

follows: (1) $700,110.58 for the breach of contract claims (principal amount of $642,699.96 and

late charges of $57,410.62); (2) $18,985.00 in attorneys’ fees; (3) $402.00 in litigation costs; (4)

$172.63 per day in prejudgment interest from September 30, 2023, until the date of entry of

judgment; and (5) post-judgment interest pursuant to 28 U.S.C. § 1961; and the Clerk of Court

having calculated the prejudgment interest at the rate set forth above, and the interest being

$62,664.69; it is

        ORDERED and ADJUDGED that Plaintiff's motion for default judgment against

Defendant is granted; and that judgment is hereby entered in favor of Plaintiff and against

Defendant in the total amount of $782,162.27 plus post-judgment interest pursuant to 28 U.S.C.

§ 1961.

Dated: Brooklyn, New York                                            Brenna B. Mahoney
       September 27, 2024                                            Clerk of Court

                                                               By:    /s/Jalitza Poveda
                                                                      Deputy Clerk
